Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 1 of 61 Page ID #:8




 Amy E. Davis (pro hac vice pending)
 LAW CENTER OF AMY E. DAVIS, LLC
 1021 N. Bishop Ave.
 Dallas, TX 75208
 Telephone: (214) 838-3501
 adavis@cdfirm.com
 Steve Calamusa (pro hac vice pending)
 Geoff S. Stahl (pro hac vice pending)
 Rachel Bentley (pro hac vice pending)
 Gordon & Partners, P.A.
 4114 Northlake Blvd.
 Palm Beach Gardens, FL 33410
 Telephone: 561-799-5070
 SCalamusa@fortheinjured.com
 GStahl@fortheinjured.com
 RBentely@fortheinjured.com
 DAVID E. ROSEN (SBN 155385)
 Email: drosen@murphyrosen.com
 MURPHY ROSEN LLP
 100 Wilshire Boulevard, Suite 1300
 Santa Monica, California 90401-1142
 Telephone: (310) 899-3300
 Facsimile: (310) 399-7201

 Counsel for Plaintiffs
                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
MICHELLE ALBAHAE, MEGAN        )             CASE NO. __________
                               )
ARCADI, JESSICA AURIANA,       )             ORIGINAL COMPLAINT:
JOANNE BROWN, MACKENZIE        )
COGLE, ROBIN DANIELS, ROXANNA )                1. BREACH OF EXPRESS
                               )                  WARRANTY
DE LA CRUZ, BRIANDA EARLE,     )               2. BREACH OF IMPLIED
LAUREN HUDSON, TIFFANY HUVAL, )                   WARRANTY
KAT JOHNSTON, EUNICE KAHLER, )                 3. VIOLATION OF
                               )                  CALIFORNIA
ANNA KURILOVA, LESLIE          )                  CONSUMER
MCDONALD, LESLIE ORR, SYLVA )                     PROTECTION AND
PATE, NICOLE QUENGA, MELINDA )                    FALSE ADVERTISING
                               )                  LAWS
QUINN, NATALIE REGISTER, SARAH )               4. NEGLIGENCE/GROSS
RICHARDSON, AMY SHAY, DEBRA )                     NEGLIGENCE –
STERLACCI, MIECHA ISYS         )                  DANGEROUS DESIGN,
                               )                  FAILURE TO
THOMAS, LESLIE TOLSTOY,                           WARN/INSTRUCT AND
                                                  FAILURE TO TEST
                                         1
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 2 of 61 Page ID #:9




ALEXANDRA URRESTI, REBEKAH                   )    5. PRODUCT
                                             )       LIABILITY/STRICT
VALENTINE, ROBIN YEAGER and                  )       PRODUCT LIABILITY –
MAUREEN ZAVATONE                             )       DESIGN,
                                                     WARNING/INSTRUCTIO
        Plaintiffs,                                  N AND TEST DEFECTS

      v.                                            DEMAND FOR JURY
                                                    TRIAL
OLAPLEX HOLDINGS, INC. AND
COSWAY CO., INC.,

            Defendants.




       Plaintiffs Michelle Albahae, Megan Arcadi, Jessica Auriana, Joanne Brown,

 Mackenzie Cogle, Robin Daniels, Roxanna De la Cruz, Brianda Earle, Lauren

 Hudson, Tiffany Huval, Kat Johnston, Eunice Kahler, Anna Kurilova, Leslie

 McDonald, Leslie Orr, Sylva Pate, Nicole Quenga, Melinda Quinn, Natalie Register,

 Sarah Richardson, Amy Shay, Debra Sterlacci, Miecha Isys Thomas, Leslie Tolstoy,

 Alexandra Urresti, Rebekah Valentine, Robin Yeager and Maureen Zavatone

 (collectively, “Plaintiffs”) file this Original Complaint against Defendant Olaplex

 Holdings, Inc. and Cosway Co., Inc. (collectively, “Defendants”) and respectfully

 state as follows:

                           NATURE OF THE ACTION

       1.     Plaintiffs have sustained personal and economic injury in connection

 with and as a result of their purchase and use of Olaplex hair care products,

 including, but not limited to Olaplex No. 0, No. 1, Olaplex No. 2, Olaplex No. 3,

                                         2
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 3 of 61 Page ID #:10




 Olaplex No. 4, Olaplex No. 5, Olaplex No. 6, Olaplex No. 7, Olaplex No. 8 and

 Olaplex No. 9 (the “Products”). Defendants jointly designed and manufactured the

 Products Defendant Olaplex Holdings, Inc. (“Olaplex”) marketed, distributed and

 sold the Products.

       2.     By this action, Plaintiffs seek redress for their personal injuries,

 primarily to their hair and scalp. Plaintiffs also seek redress for, and to stop,

 Defendant’s unfair, false and deceptive advertising and marketing of the Products.

                            JURISDICTION AND VENUE
       3.     The Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.

 § 1332(a), because this is a lawsuit in which over $75,000 is at issue and Plaintiffs

 are citizens of states other than Defendant’s states of citizenship.

       4.     This Court also has personal jurisdiction over Olaplex because Olaplex

 maintains its principal place of business in the District and has continuous,

 systematic, and substantial contacts within this District and California. Further,

 Olaplex has committed unlawful and tortious acts in this District and California that

 it knew or should have known would cause injury to Plaintiffs—acts which give rise

 to the causes of action asserted in this lawsuit. Olaplex engages in the wrongdoing

 alleged in this Complaint throughout the United States, including California and

 Defendant’s Products are advertised, marketed, distributed, and sold throughout this

 District and across the State of California. Defendant is authorized to do business in


                                            3
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 4 of 61 Page ID #:11




 California and has sufficient minimum contacts with California and/or otherwise has

 intentionally availed itself of the laws and markets of California, rendering the

 exercise of jurisdiction by the Court permissible under traditional notions of fair play

 and substantial justice. Moreover, Olaplex engages in substantial and regular activity

 within California.

       5.      This Court also has personal jurisdiction over Cosway because Cosway

 is incorporated in California, maintains its principal place of business in California

 and otherwise avails itself of the privilege of doing business in this District and

 California.

       6.      Venue is proper pursuant to 28 U.S.C. § 1391(a) because a substantial

 part of the events giving rise to the claims asserted in this Complaint occurred in this

 District. Venue is also proper pursuant to 28 U.S.C. § 1391(c) because Defendants

 (1) conduct substantial business in this District, including, but not limited to, a) the

 design and manufacture of the Products; b) compilation and evaluation of data to

 inform its advertising and promotional campaigns; c) solicitation and engagement of

 retailers, hair salons, hair stylists, influencers, Products ambassadors and paid

 celebrity endorsers; d) testing of the Products; and e) sale of the Products, (2) have

 sufficient minimum contacts with this District, and (3) otherwise purposely avail

 themselves of the privilege of conducting business in this District, through the

 promotion, sale, and marketing of the Products in this District.


                                            4
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 5 of 61 Page ID #:12




                                     PARTIES

       7.    Plaintiff Michelle Alabahae is a citizen of Florida, residing in Tamarak,

 Florida.

       8.    Plaintiff Megan Arcadi is a citizen of Florida, residing in St. Petersburg,

 Florida.

       9.    Plaintiff Jessica Auriana is a citizen of New York, residing in

 Poughkeepsie, New York.

       10.   Plaintiff Joanne Brown is a citizen of England, residing in Tadley

 Hampshire, England.

       11.   Plaintiff Mackenzie Cogle is a citizen of Alabama, residing in

 Birmingham, Alabama.

       12.   Plaintiff Robin Daniels is a citizen of Texas, residing in League City,

 Texas.

       13.   Plaintiff Roxanna De la Cruz is a citizen of Texas, residing in Edinburg,

 Texas.

       14.   Plaintiff Brianda Earle is a citizen of Indiana, residing in Albion,

 Indiana.

       15.   Plaintiff Lauren Hudson is a citizen of Virginia, residing in Salem,

 Virginia.

       16.   Plaintiff Tiffany Huval is a citizen of Louisiana, residing in Abbeville,


                                           5
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 6 of 61 Page ID #:13




 Louisiana.

         17.   Plaintiff Kat Johnston is a citizen of Hawaii, residing in Kihei, Hawaii.

         18.   Plaintiff Eunice Kahler is a citizen of Missouri, residing in Springfield,

 Missouri.

         19.   Plaintiff Anna Kurilova is a citizen of Arizona, residing in Mesa,

 Arizona.

         20.   Plaintiff Leslie McDonald is a citizen of Kansas, residing in Overland

 Park, Kansas.

         21.   Plaintiff Leslie Orr is a citizen of Utah, residing in Hurricane, Utah.

         22.   Plaintiff Sylva Pate is a citizen of New York, residing in Yonkers, New

 York.

         23.   Plaintiff Nicole Quenga is a citizen of Arizona, residing in Phoenix,

 Arizona.

         24.   Plaintiff Melinda Quinn is a citizen of Vermont, residing in Bomossenn,

 Vermont.

         25.   Plaintiff Natalie Register is a citizen of New York, residing in

 Ridgewood, New York.

         26.   Plaintiff Sarah Richardson is a citizen of North Carolina, residing in

 Greensboro, North Carolina.

         27.   Plaintiff Amy Shay is a citizen of Pennsylvania, residing in Bethel Park,


                                            6
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 7 of 61 Page ID #:14




 Pennsylvania.

          28.   Plaintiff Debra Sterlacci is a citizen of New York, residing in Babylon,

 New York.

          29.   Plaintiff Miecha Isys Thomas is a citizen of New York, residing in

 Brooklyn, New York.

          30.   Plaintiff Leslie Tolstoy is a citizen of Oregon, residing in McMinnville,

 Oregon.

          31.   Plaintiff Alexandra Urresti is a citizen of Idaho, residing in Middleton,

 Idaho.

          32.   Plaintiff Rebekah Valentine is a citizen of Texas, residing in Boerne,

 Texas.

          33.   Plaintiff Robin Yeager is a citizen of Ohio, residing in Broadview

 Heights, Ohio.

          34.   Plaintiff Maureen Zavatone is a citizen of Connecticut, residing in Old

 Saybrook, Connecticut.

          35.   Olaplex is a Delaware corporation with its principal place of business in

 California. Olaplex may be served through its registered agent, JuE Wong, President,

 Olaplex Holdings, Inc., at 1187 Coast Village Rd, Suite 1-520, Santa Barbara, CA

 93108.

          36.   Cosway is a California corporation with its principal place of business


                                             7
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 8 of 61 Page ID #:15




 in California. It may be served through its registered agent, Richard L. Hough, Chief

 Executive Officer, Cosway Co, Inc., 20633 S Fordyce Ave., Carson, CA 90810.

                            FACTUAL BACKGROUND

       37.    Olaplex and Cosway designed and manufactured the Products. Olaplex

 marketed, sold and distributed the Products throughout the world at all times relevant

 to this Complaint.

       38.    When it comes to beauty products sold in the U.S., there is an absence

 of regulation setting standards for the use of formaldehyde and similar allergens and

 the U.S. Food and Drug Administration (“FDA”) has little authority.1 The law does

 not require cosmetic companies to share formulae, testing or adverse event

 information with the FDA—before or after the product is placed on the market.

 Consumers have no choice but to depend on the product makers and sellers to

 honestly represent their products and ensure consumer safety.

       39.    Defendants have failed to protect consumers by making false claims

 about the Products and by failing to ensure the Products are safe.

 False Claims About the Products

       40.    Defendants design and market the Products as hair care products

 primarily for consumers with dry and damaged hair or hair. More particularly,



 1
    See https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-
 over-cosmetics-how-cosmetics-are-not-fda-approved-are-fda-regulated
                                           8
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 9 of 61 Page ID #:16




 Olaplex, which is headquartered in Los Angeles County, California, makes the

 following representations concerning the Products on its website, in social media,

 such as Facebook and Instagram, and in other marketing materials aimed at

 consumers as well as in literature and sales materials its provides to retailers, hair

 salons, hair stylists, influencers, brand ambassadors, paid celebrity endorsers and

 others it engages to promote and sale the Products: (1) “restore[] damaged and

 compromised hair,” (2) create “healthy, beautiful, shiny, touchable hair,” (3)

 are “scientifically proven” and “proven by science,” (4) “= strong, healthy-looking,

 more resilient hair,” (5) provide the “ultimate breakage insurance,” and (6) do not

 contain harsh or harmful chemicals, such as “silicone, sulfates, phthalates, DEA,

 aldehydes, formaldehyde, gluten, parabens and [are] safe for all hair!”2

       41.    By repeating these claims over and over on its website, in social media

 pages and sponsored placement ads online and in magazines, Defendants bank on the

 psychological concept known as the “illusion of truth.” The more you repeat a claim,

 the more likely your audience is to believe it is true.

       42.    In fact, the Products are none of these things.

 Design Defects of the Products

       43.    In addition to making false claims about the Products, Defendants have


 2
        www.olaplex-me.com/faq.php;     https://olaplex.com/pages/how-it-works;
 https://youtu.be/fEboj5Rdczg?t=107; and https://olaplex.com/pages/frequently-
 asked-questions.
                                            9
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 10 of 61 Page ID #:17




 failed to adhere to minimum standards for the cosmetic industry in the way they

 design the Products.

       44.    Multiple varieties of the Products, including No. 3, contain or have until

 recently contained lilial, an ingredient that, according to a recorded Instagram video

 featuring Lavinia Popescu, Olaplex Chief Scientist, VP R&D + Regulatory, Olaplex

 knew to be a sensitizer and allergen.3 Many more of the Products contain panthenol

 and other ingredients known for some time by the beauty industry to be allergens

 and irritants. These sorts of ingredients lead to allergic contact dermatitis (“ACD”)

 and resulting hair loss and scalp injuries.

       45.    Olaplex’s use of lilial has even more serious implications. Olaplex sells

 the Products worldwide. In 2020, the European Union Scientific Committee on

 Consumer Safety (“SCCS”) demanded lilial be phased out of use in hair and beauty

 products by March 2022. Our review of archived websites shows that Sephora

 removed lilial from the No. 3 ingredient list in approximately June 2021. This

 indicates that, as early as 2020 or early 2021, Sephora required Olaplex to remove

 lilial in those Products sold to Sephora. Nevertheless, according to its own public

 statements, Olaplex did not remove the ingredient more generally in Products sold

 in the US and EU until February 2022.



 3
    Embedded at https://fashionista.com/2022/03/olaplex-infertility-controversy-
 ingredient-reformulation.
                                           10
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 11 of 61 Page ID #:18




       46.      Even then, Olaplex failed to take the problematic lilial-containing

 Products off the market. Olaplex should have recalled the dangerous Products,

 requiring that retailers and distributors either (1) return these Products, or (2) destroy

 them and provide proof of destruction. Instead, we understand Olaplex continues to

 sell and allows retailers and distributors to continue to sell the runoff inventory it

 knows contains a dangerous ingredient.

       47.      By way of another example, many varieties of the Products contain

 sodium benzoate and ascorbic and/or citric acid. These chemicals combine to create

 the molecule benzene. Benzene is a known carcinogenic. In other words, it causes

 cancer. The ingredient is so dangerous that the beauty industry has stopped using the

 ingredient and voluntarily recalled hair care products containing benzene. Olaplex

 has not.

       48.      In yet another example of a design defect, the Products contain non-

 water-soluble substances that consumers are directed or encouraged to leave in the

 hair for extended periods, users develop clogged, inflamed, impacted and infected

 hair follicles—in other words, Seborrheic Dermatitis (“SD”), characterized by red,

 itchy, inflamed, blistered, flaking or scaling skin as well as hair loss. The American

 Hair Loss Association explains:

             Although all this inflammation is not specifically directed at the hair
             follicle, if hair follicles are in the vicinity of the inflammatory cells
             then they can still be adversely affected. Hair follicles find inflamed
             skin an unhealthy environment in which to grow. Thus seborrheic

                                              11
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 12 of 61 Page ID #:19




             dermatitis may non-specifically cause diffuse hair loss.4

       49.      Healthy hair follicles release natural oils that make their way from the

 follicle down the hair shaft. This process helps keep hair strong, moisturized, free

 from frizz and shiny. Clogged hair follicles disrupt the hair’s natural lubrication

 process, causing the hair to become dry, brittle, frizzy, dull, split and highly

 vulnerable to breakage.

       50.      Clogged hair follicles also lead to yeast and bacterial infections as

 microbes have been shown to increase with SD and thrive on the conditioning agents

 found in the Products and other dirt and debris that becomes impacted.5

       51.      Each variety of the Products contain known skin irritants and

 sensitizers, which constitute another example of a design defect. These irritants

 cause ACD. ACD leads to extreme diffuse hair loss according to treating physicians6

 and researchers.7 As one Yale trained dermatologist explained,

             [I]f the scalp gets inflamed enough from the use of a cosmetic
             product, hair loss can certainly be a symptom. The condition is
             called allergic contact dermatitis (ACD), and it causes irritated,
             often itchy, red rashes in areas of contact with various chemical
             products. Preservatives, dyes, surfactants, fragrances, and plant
             extracts are among the common ingredients that cause this problem.8

 4
   Id.
 5
   See American Hair Loss Association, Seborrheic Dermatitis.
 6
   See Dr. Mona Gohara, Your Conditioner Could Actually be Causing Hair Loss,
 Fitness.
 7
   Dr. Antonella Tosti, et al., Telogen Effluvium After Allergic Contact Dermatitis of
 the Scalp, Arch Dermatol., February 2001.
 8
   See Your Conditioner Could Actually be Causing Hair Loss, supra.
                                            12
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 13 of 61 Page ID #:20




       52.    This just makes common sense.

       53.    In more serious cases, exposure to these sorts of allergens trigger a more

 systemic auto immune disease, such as alopecia areata, an auto-immune related hair

 loss. As discussed by the National Association of Alopecia Areata, a non-profit that

 “educates the public about alopecia areata,”9 although its cause is still somewhat

 uncertain, alopecia areata is a condition understood at this time to be triggered by,

 among other things, external substances, such as allergens.10 Just as with allergic

 contact dermatitis, the exposure stimulates the body’s immune system, causing it to

 mistake—and attack— normal cells for foreign invaders.11

       54.    The Products design is further defective in its overuse of plasticizing

 agents, such as glycol. Far from repair dry and damaged hair, overuse of these

 plasticizing ingredients weakens hair and actually causes hair damage.

       55.    Defendants’ instructions for use of the Products exacerbate these

 injuries. Defendants direct and/or encourage consumers to leave the Products in their

 hair for long periods of time or indefinitely. For instance, Defendants tell consumers

 that No. 3—the best seller and cornerstone of the Products—"reaches its max efficacy

 at 30-45 minutes however OLAPLEX is actively working in the hair as long as the


 9
   Nat’l Alopecia Areata Foundation, About NAAF, https://www.naaf.org/about.
 10
    See Nat’l Alopecia Areata Foundation, What You Need to Know About Alopecia
 Areata, https://www.naaf.org/alopecia-areata.
 11
    See id.
                                          13
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 14 of 61 Page ID #:21




 hair remains moist.”12 In the Frequently Asked Questions section of the Olaplex

 website, Defendants go even farther: “we have received great feedback from people

 who have” slept in an Olaplex treatment.13 Defendants coyly hedge a bit in this,

 explaining, “[a]s a company, we do not recommend sleeping in OLAPLEX

 treatments,” but only because “it could get into your eyes.”14 Defendants never warn

 that the longer a consumer’s exposure to problematic ingredients in the Products, the

 greater the risk of SD, ACD or the damaging effects of plasticizing agents.

 False, Misleading and Unconscionable Business Practices

       56.    Defendants also engage in sharp business practices, which like their

 false claims about the Products, mislead consumers as to the Products’ efficacy and

 safety.

       57.    Defendants claim the Products enjoy wild popularity and celebrity

 endorsement. The Olaplex website names celebrities it claims use and endorse the

 Products and use celebrity photos as part of its marketing. On information and belief,

 many of these celebrities do not regularly use the Products, do not sponsor or endorse

 the Products and are, in fact, unaffiliated with the Products or Defendants in any way.

 Those celebrities who have used the Products have done so once or twice or

 sporadically, primarily because Defendants offer the Products to them for free or


 12
    https://olaplex.com/pages/frequently-asked-questions.
 13
    https://olaplex.com/pages/frequently-asked-questions.
 14
    Id.
                                           14
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 15 of 61 Page ID #:22




 based on some other incentive.

       58.       Defendants reinforce these surreptitious celebrity endorsements with

 “Transformation” pictures, showing before and after photos on their websites that

 purport to demonstrate how the average person can attain celebrity hair as their own.

 However, these “average” people are actually paid models who do not regularly use

 the Products as recommended by Defendants and, unbeknownst to consumers,

 Plaintiffs, in particular, the posted pictures show hair that has been styled by a

 professional.

       59.       In that same vein, Defendants pay to have the Products featured in

 magazines and then brag about the press coverage, never disclosing the coverage

 amounts to no more than a purchased ad. Defendants also pay for mentions on blogs

 and in other social media, using influencers, usually those influencers who identify

 as members of the curly hair community and dedicate a significant portion of their

 content to hair repair, maintenance, routines and other tutorials. An influencer accepts

 payment to promote a particular good or service on social media, such as Instagram,

 YouTube and/or Twitter, for which they have a large audience. Defendants hires

 influencers as part of its overall marketing strategy and works closely with these

 influencers to produce the Products-related content, providing photos of the Products

 to be featured and other content material, offering promo codes that the influencer

 will then offer the influencer’s audience, etc. In these ways, Defendants control the


                                           15
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 16 of 61 Page ID #:23




 content. Defendants compensate influencers by way of commissions on sales of the

 Products made through “affiliate links” on their social media sites and/or with free

 Products. Defendants do not disclose to consumers its financial relationship with

 influencers or their control over the content of its sponsored influencers. Defendants

 do not require the influencers with whom they work to make such disclosures.

       60.    Research shows influencer marketing to be quite compelling.

 Researchers found that influencer advertisement generates 277% greater emotional

 intensity and 87% higher memory encoding than television ads.15 In one study, 93%

 of women, all of whom consider themselves “social media savvy,” had purchased

 something at an influencer’s suggestion.16 Another report found businesses earned an

 extraordinary 520% return on every dollar spend toward influencer marketing.17 It is



 15
    Alexandra J. Roberts, False Influencing, Georgetown Law J., p. 4, vol. 109, No.
 1, 2020 (“False Influencing”) (citing Blake Droesch, What Does Your Brain on
 Influencer     Marketing       Look     Like?,   eMarketer     (Aug.    26,    2019)
 https://www.emarketer.com/contect/your-brain-on-influencers-neuroscience-study-
 explains-the-effects-of-influencer-marketing [https://perma.cc/5GXUFY8L].
 16
    False Influencing, 4 (citing Stefania Pomponi Butler, Social Media and the Female
 Holiday Shopper (Infographic), BUSINESS2COMMUNITY (Nov. 15, 2012)
 https://www.business2community.com/social-media/social-media-and-the-female-
 holiday-shopper-infographic-0332987 [https://perma.cc/U6QW-JF89].
 17
    False Influencing, 4 (citing NeoReach, Influencer Marketing Benchmark Report
 2019, (Feb. 12, 2019) https://neoreach.com/influencer-marketing-benchmark-
 report-2019/ [https://perma.cc/QT44-LEM3] and Dominique Jackson, Social Proof:
 How to Use Marketing Psychology to Boost Conversions, SPROUT SOCIAL (May
 29, 2018) https://sproutsocial.com/insights/social-proof/ [https://perma.cc/2P39-
 ZQY9] (“Businesses are averaging $6.50 for every $1 spent on influencer
 marketing.”)).
                                          16
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 17 of 61 Page ID #:24




 not surprising then that Olaplex has relied heavily and increasingly on influencer

 marketing.18 The apparent authenticity of the influencer marketing drives its

 success.19 Consumers find influencers to be much more credible than the brand and,

 consequently, trust influencers more than even their real-world friends.

       61.     Because of the unprecedented power of social media influencers, the

 Federal Trade Commission (the “FTC”) has established strict guidelines for

 disclosing paid influencing. “When there exists a connection between the endorser

 and the seller of the advertised product that might materially affect the weight or

 credibility of the endorsement (i.e., the connection is not reasonably expected by the

 audience), such connection must be fully disclosed.” Guides Concerning Use of

 Endorsements and Testimonials in Advertising, 16 C.F.R. § 255.5 (“FTC

 Guidelines”).

       62.     In addition to its social media promotions and influencer marketing,

 Defendants offer a less than rigorous free online training course, after which a hair

 stylist can become Olaplex “certified” and begin using—and, of course, selling—the

 Products.20     Defendants promote stylists who complete the training through a

 directory program found on the Olaplex website and by providing marketing



 18
    See https://digiday.com/marketing/engaging-with-our-audience-why-olaplex-is-
 focusing-on-community-building-via-tiktok-instagram/amp/.
 19
    False Influencing, 3.
 20
    https://certificate.olaplex.com
                                          17
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 18 of 61 Page ID #:25




 materials and strategy, and stylist support services.

       63.    Defendants also sell the Products through major retailers, such as

 Sephora, Ulta, and Amazon, pursuant to written agreements. Defendants provide

 these retailers with product descriptions and other promotional materials, which the

 retailers are required to use in their promotion of the Products.

       64.    Defendants plan, create and execute websites, social media accounts,

 magazine advertising, a community of affiliated salons and stylists, influencers and

 other brand ambassador programs, apparent endorsements, transformation photos

 and videos, testimonials, retail suppliers and other direct marketing channels as part

 of an overall international advertising campaign (the “Campaign”).

 Efforts to Conceal Dangers

       65.    Defendants’ sharp practices have not stopped there. Defendants have

 also taken affirmative action to conceal the dangers of the Products and, in these

 efforts, thwarted Plaintiffs and others from discovering they had suffered cognizable

 injuries caused by Defendant’s wrongful conduct. It never occurred to Plaintiffs and

 other users that the Products—touted by Defendants as safe for all hair, free of a

 laundry list of harsh chemicals and are scientifically formulated and proven to repair

 dry and damaged hair —could actually be hurting their hair and scalp, not helping.

 To the contrary, many believed their situation would have been worse but for the

 Products. Some worried, along with their families, their hair loss, scalp issues and


                                           18
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 19 of 61 Page ID #:26




 other personal injuries could be symptoms of a dire health condition. Many of them

 went from doctor to doctor desperate for answers, all to no avail.

       66.    Defendant has made matters worse by failing to disclose—indeed,

 actively concealing— the number of complaints of hair loss, scalp issues and other

 injuries it has received from customers and, on information and belief, the FDA.

 Defendants have been dismissive of their customers’ hair loss, instead describing

 hair shedding as normal and unavoidable and attributing the hair loss to a long list

 of other potential causes. Had Defendants been transparent even in just disclosing

 the number of complaints, some Plaintiffs and other consumers would have

 identified the Products as the culprit much sooner, some could have avoided injury

 altogether and all would have had each other for comfort and support.

       67.    Defendants claim testing proves the Products cannot be the cause yet

 Defendants have refused to provide these so-called test protocols and results. This

 concealment is highly suspect, especially given Defendants’ claims the Products are

 scientifically formulated and proven.

       68.    Although Defendants have received thousands of complaints and

 learned of countless others through social media and major media outlets, it has

 failed and refused to formally recall any of the Products. Nor have Defendants issued

 any new warnings or otherwise disclosed the defects and dangers associated with the

 Products.


                                          19
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 20 of 61 Page ID #:27




       69.    Defendants has undertaken what is essentially a voluntary and entirely

 self-serving partial recall. Olaplex usually accepts returns and issues refunds for

 Products under certain limited parameters. However, after concerns about the safety

 and efficacy of the Products became public, Olaplex has allowed customers to return

 Products, “no questions asked,” for a full refund without regard to the date of

 purchase and the amount of product left in the returned bottle(s). In so doing, Olaplex

 hopes to appease injured consumers and sweep under the rug the dangers presented

 by the Products. This single purpose is made all the more clear by what Olaplex has

 not done: it has not recalled the Products from retailers and other third party

 distributors; it has not destroyed or required retailers and other third party

 distributors to destroy the Products; and it has not reported the many complaints it

 has received concerning the Products to the FDA or any other regulatory body.

 Plaintiffs’ Injuries

       70.    Defects in the Products have caused Plaintiffs serious injury. They have

 lost their hair—in some cases more than half and leaving bald spots in others. The

 Products have transformed what hair remains as well. Far from repairing and

 protecting hair from damage, the Products have instead left Plaintiffs’ hair dry, brittle,

 frizzy and dull. The hair has split and broken, causing it to look unkept and as if it

 were cut with a weedwhacker. The Products have also changed the texture of

 Plaintiffs’ hair. Even those who once had beautiful defined curls or waves now have


                                            20
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 21 of 61 Page ID #:28




 frizzy, straight-ish hair. Plaintiffs have suffered scalp injuries, too, including, but not

 limited to, extreme itchiness, rash, yeast infection, bacterial infection, open sores,

 burning and overall sensitivity.

       71.    Counsel has together with each plaintiff carefully considered all other

 common cause of hair loss and scalp injuries. In each case, there is no other cause of

 the injuries; the Products alone are to blame.

       72.    The following photographs depict the type of hair loss and scalp injury

 damage caused by the Products.




                                             21
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 22 of 61 Page ID #:29




  <               Home
           April 21, 2022 4:04 PM   Edit   0




                                               22
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 23 of 61 Page ID #:30




                                      23
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 24 of 61 Page ID #:31




                                      24
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 25 of 61 Page ID #:32




        73.    Numerous studies show that the psychological impact of hair loss is

 often severe and debilitating, especially for women. Hair represents beauty, health,

 youth, individuality and sexuality. The loss or destruction of hair is closely tied with

 self-identity and self-confidence. Many people facing hair loss suffer extreme anxiety

 and depression, some become house bound and studies report cases where hair loss

 and damage leads to self-harm, eating disorders and other very dangerous and deadly

 psychological conditions. Each Plaintiff has suffered emotionally as a result of the

 injuries to their hair and scalp caused by Defendants. The most common of their

 emotional injuries include, but are not limited to, sleeplessness, a change in appetite,

 depression, anxiety, irritability, tearfulness, loss of desire to engage in activities they


                                             25
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 26 of 61 Page ID #:33




 used to enjoy, fear of leaving the house and an inability to focus while struggling with

 intrusive and obsessive thoughts about their hair and scalp injuries and how they

 might address them.

       74.    These symptoms do not occur in a vacuum. Injuries to a person’s sense

 of self, confidence and well-being impact every aspect of their lives and the dynamics

 of every relationship. Plaintiffs have struggled in their relationships with friends,

 partners, children and at work. In some cases, Plaintiffs have lost income due to an

 inability to work and from loss of opportunities to advance their careers, which

 requires relationship building.


                     PLAINTIFF-SPECIFIC ALLEGATIONS

       75.    Plaintiff Michelle Alabahae purchased the Olaplex products

 between February – April/May 2022 online through Olaplex.com and Amazon.com

 based on representations regarding the safety, formulation and efficacy of the

 Products made by Defendants on Olaplex.com and, more generally online, see supra,

 Background Facts, paras. 40-74, before her first purchase, especially claims that the

 Products “restore[] damaged and compromised hair.” Plaintiff used the Products

 as directed, including the use of #0, #3, #4, #5, #6 and #7. Plaintiff suffered hair loss,

 hair breakage, poor hair condition, a yeast infection, scalp pain and constant dry and

 irritated/inflamed scalp.

       76.    Plaintiff      Megan    Arcadi     purchased     the   Olaplex     products

                                            26
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 27 of 61 Page ID #:34




 between September 2022-November 2022 in person from Cosmoprof and Trustar

 based on representations made by Defendants by certain Olaplex-certified hair

 stylists see supra, Background Facts, paras. 40-74, regarding the safety, formulation

 and efficacy of the Products, especially claims that the Products would safely and

 without harmful chemicals: drastically reduce hair breakage, lead to better, healthier

 hair, protect hair from damage caused by chemical services, builds bonds to replace

 what was stripped from hair by styling and overall improve hair texture and

 quality. Plaintiff used the Products as directed, including the use of #4P, #4, #5 and

 #6. Plaintiff suffered hair loss, hair breakage, poor hair condition, hair discoloration,

 and scalp/facial irritation or rash. The Olaplex-certified stylists on which the Plaintiff

 are Guy Tang, Gabbie Hanna, Larissa Love, Brad Mondo and Hannah Forcier, who

 appeared on Facebook, YouTube, Instagram and TikTok. On information and belief,

 these stylists received marketing materials from Olaplex with directions from

 Olaplex to use in these materials and the claims made therein in marketing the

 Products to potential customers on behalf of Olaplex.

       77.    Plaintiff Jessica Auriana purchased the Olaplex products on August 16,

 2022 through her stylist based on representations made on August 16, 2022 and after

 regarding the safety, formulation and efficacy of the Products made by Defendants

 through her stylist, Claudia Cruz, and advertisements seen on Instagram, see supra,

 Background Facts, paras. 40-74 before purchasing the Products, especially claims


                                            27
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 28 of 61 Page ID #:35




 that the Products safely, and without using harsh or harmful chemicals, “restore[]

 damaged and compromised hair” and are “the best thing for your hair.” Plaintiff

 used the Products as directed, including the use of #4, #5 and #4P-Purple Clarifying

 Shampoo. Plaintiff suffered hair loss, balding, itchy scalp, hair texture change, dry

 hair and depression. Plaintiff’s stylist, Claudia Cruise, works at Skye Studio, located

 at 45 Eastdale Ave. N, Suite 201, Poughkeepsie, NY 12603. Ms. Skye is authorized

 to sell Olaplex at her salon and, on information and belief, received marketing

 materials from Olaplex with directions from Olaplex to use the materials and the

 claims made therein in marketing the Products to potential customers on behalf of

 Olaplex. Ms. Skye stated that everyone raved/swore by Olaplex and that the Products

 restore dry, damaged hair and are especially good for color treated hair.

       78.    Plaintiff Joanne Brown purchased the Olaplex products between June

 2021-September 2022 online through Sensational based on representations regarding

 the safety, formulation and efficacy of the Products made by Defendants through her

 stylist in June 2021 and, before purchasing the first of the Products, online, including

 on Olaplex.com, see supra, Background Facts, paras. 40-74. Plaintiff heard/saw and

 relied on these representations and was especially moved by claims the Products (1)

 “restore[] damaged and compromised hair,” (2) create “healthy, beautiful, shiny,

 touchable hair,” (3) are “scientifically proven” and “proven by science,” (4) “=

 strong, healthy-looking, more resilient hair,” (5) provide the “ultimate breakage


                                           28
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 29 of 61 Page ID #:36




 insurance,” and (6) do not contain harsh or harmful chemicals, such as “silicone,

 sulfates, phthalates, dea, aldehydes, formaldehyde, gluten, parabens and [are] safe

 for all hair!” Plaintiff used the Products as directed, including the use of #3, #4, #5,

 #6 and #8. Plaintiff suffered hair loss, hair breakage, scalp/facial irritation or rash,

 scalp/facial rash and poor hair condition. Plaintiff’s stylist worked at Beauty Room,

 located in Easthampstead Bracknell, UK in June 2021. On information and belief,

 the stylist and Beauty Room received marketing materials from Olaplex with

 directions from Olaplex to use in these materials and the claims made therein in

 marketing the Products to potential customers on behalf of Olaplex.

       79.    Plaintiff   Mackenzie     Cogle    purchased    the   Olaplex     products

 between April 11, 2022-June 28, 2022 in person through Ulta based on

 representations regarding the safety, formulation and efficacy of the Products made

 by Defendants through claims of celebrity endorsement by Drew Barrymore, on

 naturallycurly.com and through social media influencers, see supra, Background

 Facts, paras. 40-74. Plaintiff saw/heard and relied on these representations before her

 first purchase of the Products and was especially moved by claims the Products (1)

 “restore[] damaged and compromised hair,” (2) create “healthy, beautiful, shiny,

 touchable hair,” (3) are “scientifically proven” and “proven by science,” (4) “=

 strong, healthy-looking, more resilient hair,” (5) provide the “ultimate breakage

 insurance,” and (6) do not contain harsh or harmful chemicals, such as “silicone,


                                           29
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 30 of 61 Page ID #:37




 sulfates, phthalates, dea, aldehydes, formaldehyde, gluten, parabens and [are] safe

 for all hair!” Plaintiff used the products as directed, including the use of #3. Plaintiff

 suffered hair loss, hair breakage and dry hair. With regard to statements made by

 influencers, Plaintiff watched curly hair influencers Manes by Mell and Gena Marie

 on YouTube in June 2022, who both said that using Olaplex would improve curl

 pattern. On information and belief, these influencers received marketing materials

 from Olaplex with directions from Olaplex to use in these materials and the claims

 made therein in marketing the Products to potential customers on behalf of Olaplex.

 On information and belief, Olaplex failed to obtain express authority from Drew

 Barrymore to claim Ms. Barrymore endorses the Products and/or failed to regularly

 confirm with Ms. Barrymore that her endorsement remained unchanged.

       80.    Plaintiff Robin Daniels purchased the Olaplex products between May-

 August 2022 online through Amazon.com based on representations regarding the

 safety, formulation and efficacy of the Products made by Defendants online,

 including through Olaplex.com, Facebook, TikTok and Instagram, see supra,

 Background Facts, paras. 40-74. Plaintiff saw/heard and relied on these statements

 before her first purchase of the Products and was especially moved by claims the

 Products (1) “restore[] damaged and compromised hair,” (2) create “healthy,

 beautiful, shiny, touchable hair,” (3) are “scientifically proven” and “proven by

 science,” (4) “= strong, healthy-looking, more resilient hair,” (5) provide the


                                            30
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 31 of 61 Page ID #:38




 “ultimate breakage insurance,” and (6) do not contain harsh or harmful chemicals,

 such as “silicone, sulfates, phthalates, dea, aldehydes, formaldehyde, gluten,

 parabens and [are] safe for all hair!” Plaintiff used the Products as directed, including

 the use of #0, #3, #4, #5, #6, #7, #8 and #9. Plaintiff suffered hair loss, hair breakage,

 poor hair condition, scalp/facial irritation or rash, dandruff and itchy scalp.

       81.    Plaintiff Roxanna De la Cruz purchased the Olaplex products

 between September      -December      2022      online   through   Sephora    based    on

 representations regarding the safety, formulation and efficacy of the products made

 by Defendants on Sephora.com, see supra, Background Facts, paras. 40-74. Plaintiff

 saw/heard and relied on these representations before her first purchase and was

 especially moved by claims the Products (1) “restore[] damaged and compromised

 hair,” (2) create “healthy, beautiful, shiny, touchable hair,” (3) are “scientifically

 proven” and “proven by science,” (4) “= strong, healthy-looking, more resilient

 hair,” (5) provide the “ultimate breakage insurance,” and (6) do not contain harsh or

 harmful chemicals, such as “silicone, sulfates, phthalates, dea, aldehydes,

 formaldehyde, gluten, parabens and [are] safe for all hair!” Plaintiff used the

 Products as directed, including the use of #3, #4, #4P, #5, and #7. Plaintiff suffered

 hair loss, hair breakage and poor hair condition.

       82.    Plaintiff Brianda Earle purchased the Olaplex products between July

 2022-September 2022 online and in person through Cosmoprof based on


                                            31
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 32 of 61 Page ID #:39




 representations made by Defendants on Olaplex website see supra, Background

 Facts, paras. 40-74, regarding the safety, formulation and efficacy of the Products

 before she first purchased the Products, and was especially moved by claims the

 Products (1) “restore[] damaged and compromised hair,” (2) create “healthy,

 beautiful, shiny, touchable hair,” (3) are “scientifically proven” and “proven by

 science,” (4) “= strong, healthy-looking, more resilient hair,” (5) provide the

 “ultimate breakage insurance,” and (6) do not contain harsh or harmful chemicals,

 such as “silicone, sulfates, phthalates, dea, aldehydes, formaldehyde, gluten,

 parabens and [are] safe for all hair!” Plaintiff used the Products as directed, including

 the use of #4P, #4, #5 and #6. Plaintiff suffered hair loss, hair breakage, poor hair

 condition, hair discoloration, scalp/facial irritation or rash, scalp/facial rash and

 mental distress.

       83.    Plaintiff   Lauren     Hudson      purchased     the     Olaplex    products

 between February     2022-November       2022    online     through    Ulta     based   on

 representations regarding the safety, formulation and efficacy of the Products made

 by Defendants through social media influencer Abbey Young on YouTube, see

 supra, Background Facts, paras. 40-74. Plaintiff saw/heard and relied on these

 statements before her first purchase of the Products, and was especially moved by

 claims the Products (1) “restore[] damaged and compromised hair,” (2) create

 “healthy, beautiful, shiny, touchable hair,” (3) are “scientifically proven” and


                                            32
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 33 of 61 Page ID #:40




 “proven by science,” (4) “= strong, healthy-looking, more resilient hair,” (5) provide

 the “ultimate breakage insurance,” and (6) do not contain harsh or harmful chemicals,

 such as “silicone, sulfates, phthalates, dea, aldehydes, formaldehyde, gluten,

 parabens and [are] safe for all hair!” Plaintiff used the Products as directed, including

 the use of #3, #4 and #5. Plaintiff suffered hair loss, scalp/facial irritation or rash,

 poor hair condition, hair breakage and hair discoloration. On information and belief,

 influencers Young received marketing materials from Olaplex with directions from

 Olaplex to use in these materials and the claims made therein in marketing the

 Products to potential customers on behalf of Olaplex.

       84.    Plaintiff Tiffany Huval purchased the Olaplex products between March-

 October 2022 online through Amazon.com based on representations regarding the

 safety, formulation and efficacy of the Products made by Defendants on Olaplex.com

 and TikTok, see supra, Background Facts, paras. 40-74. Plaintiff saw/heard and

 relied on these statements before her first purchase of the Products, and was

 especially moved by claims the Products (1) “restore[] damaged and compromised

 hair,” (2) create “healthy, beautiful, shiny, touchable hair,” (3) are “scientifically

 proven” and “proven by science,” (4) “= strong, healthy-looking, more resilient

 hair,” (5) provide the “ultimate breakage insurance,” and (6) do not contain harsh or

 harmful chemicals, such as “silicone, sulfates, phthalates, dea, aldehydes,

 formaldehyde, gluten, parabens and [are] safe for all hair!” Plaintiff used the


                                            33
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 34 of 61 Page ID #:41




 Products as directed, including the use of #0, #3, #4, #5, #6 and #8. Plaintiff suffered

 hair loss, hair breakage and poor hair condition.

       85.    Plaintiff Kat Johnston purchased the Olaplex products between July

 2022-September 2022 online through Nordstrom based on representations regarding

 the safety, formulation and efficacy of the Products made by Defendants through her

 stylist Leah Johnston see supra, Background Facts, paras. 40-74. Plaintiff saw/heard

 and relied on these statements before her first purchase of the products, and was

 especially moved by claims the Products (1) create “healthy, beautiful, shiny,

 touchable hair,” (2) are “scientifically proven” and “proven by science,” (3) “=

 strong, healthy-looking, more resilient hair,” (4) provide the “ultimate breakage

 insurance,” and (5) do not contain harsh or harmful chemicals, such as “silicone,

 sulfates, phthalates, dea, aldehydes, formaldehyde, gluten, parabens and [are] safe

 for all hair!” Plaintiff used the Products as directed, including the use of #4 and #5

 after the stylist had used the bonder in the salon. Plaintiff suffered hair loss, hair

 breakage, poor hair condition, hair discoloration, burning and itchy scalp, scalp/facial

 irritation or rash and scalp/facial rash. In addition, Plaintiff has suffered from major

 depression. Plaintiff’s stylist Leah Johnston owns the Hair Hale, 2580 Kekaa Drive

 #123, Lahaina, Hawaii 96761, where they live and breathe Olaplex. Leah not only

 said all the phrases mentioned above, but she also stated that Olaplex would make

 her hair even more beautiful than it already was and stronger, too. Leah refused to


                                           34
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 35 of 61 Page ID #:42




 see clients unless they used Olaplex. On information and belief, Plaintiff’s stylist

 received marketing materials from Olaplex with directions from Olaplex to use in

 these materials and the claims made therein in marketing the Products to potential

 customers on behalf of Olaplex.

        86.   Plaintiff Eunice Kahler purchased the Olaplex products between July

 2022-September 2022 in person through Ulta based on representations made by

 Defendants on Olaplex displays in Ulta, on the Sephora app and pop-up ads on

 Facebook and Instagram, see supra, Background Facts, paras. 40-74, regarding the

 safety, formulation and efficacy of the Products, especially claims the Products (1)

 “restore[] damaged and compromised hair,” (2) create “healthy, beautiful, shiny,

 touchable hair,” (3) are “scientifically proven” and “proven by science,” (4) “=

 strong, healthy-looking, more resilient hair,” (5) provide the “ultimate breakage

 insurance,” and (6) do not contain harsh or harmful chemicals, such as “silicone,

 sulfates, phthalates, dea, aldehydes, formaldehyde, gluten, parabens and [are] safe

 for all hair!” Plaintiff used the Products as directed, including the use of #4P, #4, #5

 and #6. Plaintiff suffered hair loss, hair breakage, poor hair condition, hair

 discoloration, scalp/facial irritation or rash, scalp/facial rash, hair texture and mental

 distress.

        87.   Plaintiff Anna Kurilova purchased the Olaplex products in December

 2021 online through Amazon.com based on representations regarding the safety,


                                            35
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 36 of 61 Page ID #:43




 formulation and efficacy of the Products made by Defendants on Olaplex.com, see

 supra, Background Facts, paras. 40-74. Plaintiff saw/heard and relied on these

 statements before her first purchase of the Products and was especially moved by

 claims the products (1) create “healthy, beautiful, shiny, touchable hair,” and (2)

 are “scientifically proven” and “proven by science,” Plaintiff used the Products,

 specifically #3, as directed. Plaintiff suffered hair loss, hair breakage and poor hair

 condition.

         88.   Plaintiff   Leslie   McDonald      purchased     the   Olaplex    products

 between July- September 2022 online through Ulta Beauty based on representations

 regarding the safety, formulation and efficacy of the Products made by Defendants

 on Olaplex.com, Ulta.com and Sephora.com, see supra, Background Facts, paras. 40-

 74. Plaintiff saw/heard and relied on these statements before her first purchase of the

 Products and was especially moved by claims the Products (1) create “healthy,

 beautiful, shiny, touchable hair,” (2) “= strong, healthy-looking, more resilient

 hair,” and (3) provide the “ultimate breakage insurance,” Plaintiff used the Products

 as directed, including the use of #3, #4, #4c, #5, #6 and #7. Plaintiff suffered hair

 loss, hair breakage, poor hair condition, scalp/facial irritation or rash and scalp/facial

 rash.

         89.   Plaintiff Leslie Orr purchased the Olaplex products between July 2021-

 February 2022 in person through Just Your Style Salon based on representations


                                            36
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 37 of 61 Page ID #:44




 regarding the safety, formulation and efficacy of the Products made by Defendants

 through her stylist and on social media, see supra, Background Facts, paras. 40-74.

 Plaintiff saw/heard and relied on these statements before her first purchase of the

 Products, and was especially moved by claims the Products (1) create “healthy,

 beautiful, shiny, touchable hair,” and (2) are “scientifically proven” and “proven

 by science.” Plaintiff used the Products as directed, including the use of #4, #5 and

 #7. Plaintiff suffered hair loss, hair breakage, poor hair condition, hair discoloration,

 itchy irritated scalp, scalp/facial rash, burning scalp and scalp/facial irritation or rash.

 In addition to the injuries from using the product, Plaintiff has suffered a lack of self-

 esteem and depression. Plaintiff’s stylist is Tibi Brimhall of Just Your Style Salon,

 located at 658 N. 800 E, Spanish Fork, UT 84660. On information and belief,

 Plaintiff’s stylist and Just Your Style Salon received marketing materials from

 Olaplex with directions from Olaplex to use in these materials and the claims made

 therein in marketing the Products to potential customers on behalf of Olaplex.

        90.    Plaintiff Sylva Pate purchased the Olaplex products in September 2022

 in person through Sephora and Ulta based on representations regarding the safety,

 formulation and efficacy of the Products made by Defendants on the Sephora,

 Olaplex, and Ulta website and on social media (although she cannot recall the specific

 influencers), see supra, Background Facts, paras. 40-74. Plaintiff saw/heard these

 statements before her first purchase of the products, and was especially moved by


                                             37
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 38 of 61 Page ID #:45




 claims the Products (1) “restore[] damaged and compromised hair,” (2) create

 “healthy, beautiful, shiny, touchable hair,” (3) “= strong, healthy-looking, more

 resilient hair,” and (4) do not contain harsh or harmful chemicals, such as “silicone,

 sulfates, phthalates, dea, aldehydes, formaldehyde, gluten, parabens and [are] safe

 for all hair!” Plaintiff used the Products as directed, including the use of #4, #4C, #5

 and #8. Plaintiff suffered hair loss, scalp/facial irritation or rash, poor hair condition

 hair breakage, hair discoloration and extreme scalp burning and pain. On information

 and belief, the influencers on which Plaintiff relied received marketing materials

 from Olaplex with directions from Olaplex to use in these materials and the claims

 made therein in marketing the Products to potential customers on behalf of Olaplex..

       91.    Plaintiff Nicole Quenga purchased the Olaplex products between May-

 August 2022 in person through Ulta based on representations regarding the safety,

 formulation and efficacy of the Products made by Defendants on the Olaplex.com

 website, see supra, Background Facts, paras. 40-74. Plaintiff saw/heard and relied on

 these statements before her first purchase of the Products and was especially moved

 by claims the Products do not contain harsh or harmful chemicals, such as “silicone,

 sulfates, phthalates, dea, aldehydes, formaldehyde, gluten, parabens and [are] safe

 for all hair!” Plaintiff used the Products as directed, including the use of #3, #4 and

 #5.   Plaintiff   suffered    hair   loss,   hair   breakage,   poor    hair   condition,

 irritated/sore/burning scalp and scalp/facial irritation or rash.


                                              38
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 39 of 61 Page ID #:46




       92.    Plaintiff   Melinda    Quinn     purchased    the   Olaplex     products

 between January 2022- March 2022 in person at a hair salon in Bonaire in the

 Caribbean and online through Amazon.com based on representations regarding the

 safety, formulation and efficacy of the Products made by Defendants through her

 stylist, see supra, Background Facts, paras. 40-74. Plaintiff saw/heard and relied on

 these statements before her first purchase of the products and was especially moved

 by claims the Products “= strong, healthy-looking, more resilient hair” and would

 make her curly hair less frizzy and more manageable. Plaintiff used the Products as

 directed, including the use of #0, #3 and #6. Plaintiff suffered hair loss, hair

 breakage, poor hair condition, scalp irritation, itchy scalp and burning scalp.

 Plaintiff’s stylist was Barbel of Be Youty Salon, located at Kaya Papa Cornes 37,

 Kralendijk, Bonaire. On information and belief, Plaintiff’s stylist received marketing

 materials from Olaplex with directions from Olaplex to use in these materials and the

 claims made therein in marketing the Products to potential customers on behalf of

 Olaplex.

       93.    Plaintiff Natalie Register purchased the Olaplex products in June 2022

 in person through Sephora based on representations regarding the safety, formulation

 and efficacy of the Products made by Defendants on the Sephora website and

 packaging of the Products, see supra, Background Facts, paras. 40-74. Plaintiff

 saw/heard and relied on these statements before her first purchase of the Products and


                                          39
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 40 of 61 Page ID #:47




 was especially moved by claims the Products do not contain harsh or harmful

 chemicals, such as “silicone, sulfates, phthalates, dea, aldehydes, formaldehyde,

 gluten, parabens and [are] safe for all hair!” and “repairs and strengthens all hair

 types.” Plaintiff used the Products as directed, including the use of #3. Plaintiff

 suffered extreme hair loss, loss of eyebrows and eyelashes, overall balding, hair

 breakage, painful sore like bumps on the scalp, hair texture, chronic headaches,

 severe scalp itching, severe scalp pain, loss of pigmentation, depression and loss of

 menstrual cycle for 3 months.

       94.    Plaintiff Sarah Richardson purchased the Olaplex products in February

 2022 in person through Ulta Beauty based on representations regarding the safety,

 formulation and efficacy of the Products made by Defendants on its Tik Tok account,

 through influencers on Instagram and Tik Tok (although she cannot recall names)

 and the Ulta website, see supra, Background Facts, paras. 40-74. Plaintiff saw/heard

 and relied on these statements before her first purchase of the Products and was

 especially moved by claims the Products “restore[] damaged and compromised

 hair,” and provide the “ultimate breakage insurance.” Plaintiff used the Products as

 directed, including the use of #4, #5 and #6. Plaintiff suffered hair loss, hair breakage

 and poor hair condition. On information and belief, the influencers Plaintiff saw and

 relied on received marketing materials from Olaplex with directions from Olaplex to

 use in these materials and the claims made therein in marketing the Products to


                                            40
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 41 of 61 Page ID #:48




 potential customers on behalf of Olaplex.

       95.       Plaintiff Amy Shay purchased the Olaplex products between March

 2021-September 2022 in person through Sephora and Ulta based on representations

 regarding the safety, formulation and efficacy of the Products made by Defendants

 on Olaplex.com, see supra, Background Facts, paras. 40-74. Plaintiff saw/heard and

 relied on these statements before her first purchase of the Products before her first

 purchase of the Products, and was especially moved by claims the Products (1)

 “restore[] damaged and compromised hair,” (2) create “healthy, beautiful,

 shiny, touchable hair,” (3) are “scientifically proven” and “proven by science,” (4)

 “= strong, healthy-looking, more resilient hair,” (5) provide the “ultimate breakage

 insurance,” and (6) do not contain harsh or harmful chemicals, such as “silicone,

 sulfates, phthalates, dea, aldehydes, formaldehyde, gluten, parabens and [are] safe

 for all hair!” Plaintiff used the Products as directed, including the use of #0, #3, #4,

 #4P, #5, #6, #7, #8 and #9. Plaintiff suffered poor hair condition hair breakage and

 hair texture.

       96.       Plaintiff   Debra   Sterlacci   purchased    the   Olaplex     products

 between September 2021-Summer 2022 in person through Cosmoprof based on

 representations regarding the safety, formulation and efficacy of the Products made

 by Defendants on Olaplex.com, see supra, Background Facts, paras. 40-74. Plaintiff

 saw/heard and relied on these statements before her first purchase of the Products,


                                            41
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 42 of 61 Page ID #:49




 and was especially moved by claims the Products (1) “restore[] damaged and

 compromised hair,” (2) “= strong, healthy-looking, more resilient hair,” and (3) do

 not contain harsh or harmful chemicals, such as “silicone, sulfates, phthalates, dea,

 aldehydes, formaldehyde, gluten, parabens and [are] safe for all hair!” Plaintiff used

 the Products as directed, including the use of #0, #3, #4, #5, #6, #7, #8 and the 4 in 1

 moisture mask. Plaintiff suffered hair loss, hair breakage and poor hair condition.

       97.       Plaintiff Miecha Isys Thomas purchased the Olaplex products

 between March and May 2021 in person through Sephora based on representations

 regarding the safety, formulation and efficacy of the Products made by Defendants

 on Olaplex.com and Sephora in-store advertisements, see supra, Background Facts,

 paras. 40-74. Plaintiff saw/heard and relied on these statements before her first

 purchase of the Products, especially claims the Products do not contain harsh or

 harmful chemicals, such as “silicone, sulfates, phthalates, dea, aldehydes,

 formaldehyde, gluten, parabens and [are] safe for all hair!” Plaintiff used the

 Products as directed, including the use of shampoo #4, conditioner #5, #0 and

 #3. Plaintiff suffered hair loss, hair breakage, poor hair condition, scalp/facial

 irritation or rash, scalp/facial rash, burns to scalp, and changes in her hair texture and

 curl pattern.

       98.       Plaintiff Leslie Tolstoy purchased the Olaplex products in October 2022

 in person through Phagans School of Hair Design, 12000 SE 82nd Ave #4010, Happy


                                            42
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 43 of 61 Page ID #:50




 Valley, OR 97086, based on representations regarding the safety, formulation and

 efficacy of the Products made by Defendants through an Olaplex-affiliated hair

 stylist, Alana Ice and members of the Phagans School salon, see supra, Background

 Facts, paras. 40-74. Plaintiff saw/heard and relied on these statements before her first

 purchase of the products, and was especially moved by claims the Products (1)

 “restore[] damaged and compromised hair,” (2) create “healthy, beautiful,

 shiny, touchable hair,” (3) are “scientifically proven” and “proven by science,” (4)

 “= strong, healthy-looking, more resilient hair,” and (5) provide the “ultimate

 breakage insurance.” Plaintiff used the Products as directed, including the use of #0,

 #3, #4 and #5. Plaintiff suffered hair loss, hair breakage, dry brittle hair, balding

 patches, scalp irritation and trouble thinking/concentrating. On information and

 belief, Ice and Phagans School received marketing materials from Olaplex with

 directions from Olaplex to use in these materials and the claims made therein in

 marketing the Products to potential customers on behalf of Olaplex.

       99.    Plaintiff   Alexandra    Urresti   purchased    the   Olaplex    products

 between March 2022-November 2022 online through Cosmoprof based on

 representations regarding the safety, formulation and efficacy of the Products made

 by Defendants through retailers Sephora and Ulta see supra, Background Facts,

 paras. 40-74, especially claims the Products (1) create “healthy, beautiful, shiny,

 touchable hair,” (2) “= strong, healthy-looking, more resilient hair,” and (3) do not


                                           43
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 44 of 61 Page ID #:51




 contain harsh or harmful chemicals, such as “silicone, sulfates, phthalates, dea,

 aldehydes, formaldehyde, gluten, parabens and [are] safe for all hair!” Plaintiff used

 the Products as directed, including the use of #4, #5, #6 and #7. Plaintiff suffered

 hair loss, scalp/facial irritation or rash, poor hair condition hair breakage and

 scalp/facial rash. On information and belief, Sephora and Ulta received marketing

 materials from Olaplex with directions from Olaplex to use in these materials and the

 claims made therein in marketing the Products to potential customers on behalf of

 Olaplex.

       100.   Plaintiff Rebekah Valentine purchased the Olaplex products in July

 2022 online through Sephora based on representations regarding the safety,

 formulation and efficacy of the Products made by Defendants through her stylist at

 Salon Nuuvo, see supra, Background Facts, paras. 40-74. Plaintiff saw/heard and

 relied on these statements prior to her first purchase of the Products and was

 especially moved by claims the Products provide the “ultimate breakage insurance,”

 will prevent breakage if added to bleach, and “do not contain harsh or harmful

 chemicals, such as “silicone, sulfates, phthalates, dea, aldehydes, formaldehyde,

 gluten, parabens and [are] safe for all hair!” Plaintiff used the Products as directed,

 including the use of #0, #3, #4, #5 and #6. Plaintiff suffered hair loss, poor hair

 condition, hair breakage, change in hair texture and hair discoloration. Plaintiff‘s

 stylist is Raychel Harrison, who owns Salon Nuuvo, located at 26777 Agoura Rd. b3,


                                           44
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 45 of 61 Page ID #:52




 Calabasas, CA 91302. On information and belief, Plaintiff’s stylist received

 marketing materials from Olaplex with directions from Olaplex to use in these

 materials and the claims made therein in marketing the Products to potential

 customers on behalf of Olaplex.

       101.   Plaintiff Robin Yeager purchased the Olaplex products in October 2020

 and then again April 2022 online through Cosmoprof based on representations

 regarding the safety, formulation and efficacy of the Products made by Defendants

 by Plaintiff’s stylist, Faye Stasiak at Shear Desire, see supra, Background Facts,

 paras. 40-74. Plaintiff saw/heard and relied on these statements before her first

 purchased of the Products and was especially moved y claims the Products (1) create

 healthy, beautiful, shiny, touchable hair, (2) protect the integrity of blonde hair

 that is chemically treated, and (3) “= strong, healthy-looking, more resilient

 hair.” Plaintiff used the Products as directed, including the use of #3, #4 and

 #5. Plaintiff suffered hair loss, hair breakage and poor hair condition. Shear Desire

 is located at 6170 Pearl Rd., Parma Heights, OH 44130. On information and belief,

 Plaintiff’s stylist received marketing materials from Olaplex with directions from

 Olaplex to use in these materials and the claims made therein in marketing the

 Products to potential customers on behalf of Olaplex.

       102.   Plaintiff   Maureen   Zavatone    purchased    the   Olaplex   products

 between Spring 2022-December 2022 in person from her stylist and CVS based on


                                          45
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 46 of 61 Page ID #:53




 representations regarding the safety, formulation and efficacy of the Products made

 by Defendants on the product packaging and in general advertising, see supra,

 Background Facts, paras. 40-74. Plaintiff relied on these statements prior to her first

 purchase of the Products and was especially moved by claims the Products create

 “healthy, beautiful, shiny, touchable hair.” Plaintiff used the Products as directed,

 including the use of #0, #7 and #8 Moisture Mask. Plaintiff suffered hair loss, hair

 breakage and poor hair condition.

                 AGENCY AND PRIVITY OF THIRD PARTIES

       231. To the extent third parties made the false and misleading statements to

 Plaintiffs on which they relied (see infra, Plaintiff-Specific Allegations), the third

 parties were agents of Olaplex and made the representations on Olaplex’s behalf with

 the consent of Olaplex and the third party using information and promotional

 materials provided by Olaplex to the third party for the purpose of promoting the

 Products and otherwise subject to Olaplex’s control. Olaplex expressly directed these

 third-party agents to make the false and misleading statements or, by virtue of

 Olaplex’s promotion of these third parties on its website and in other advertisements

 and its training of these agents, the agents and Plaintiffs reasonably believed the

 agents were authorized to make these statements in their promotion of the Products

 to Plaintiffs. Furthermore, the agents made the false and misleading statements and/or

 sold the Products to Plaintiffs pursuant to an agreement with Olaplex to promote


                                           46
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 47 of 61 Page ID #:54




 and/or sell the Products. Therefore, Plaintiffs are in contractual privity with Olaplex

 even if they relied on statements made by or purchased Products from Olaplex’s

 agents.

                            FIRST CAUSE OF ACTION

                            Breach of Express Warranty

                                   Against Olaplex

       232. Plaintiffs hereby incorporate and restates the above allegations by

 reference as though fully set forth herein.

       233. Plaintiffs formed a contract with Olaplex at the time they purchased the

 Products. The terms of that contract include the promises and affirmations of fact

 made by Olaplex through marketing and advertising as part of the Campaign. This

 marketing and advertising constitute express warranties and became part of the basis

 of the bargain, and are part of the standardized contract between Plaintiffs and

 Defendant.

       234. By way of its Campaign, Olaplex promoted the Products to Plaintiffs

 using multiple false and/or misleading express promises, including, but not limited

 to claims the Products: (1) “restore[] damaged and compromised hair,” (2) create

 “healthy, beautiful, shiny, touchable hair,” (3) are “scientifically proven” and

 “proven by science,” (4) “= strong, healthy-looking, more resilient hair,” (5) provide

 the “ultimate breakage insurance,” and (6) do not contain harsh or harmful chemicals,


                                           47
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 48 of 61 Page ID #:55




 such as “silicone, sulfates, phthalates, DEA, aldehydes, formaldehyde, gluten,

 parabens and [are] safe for all hair!”21

       235. For the reasons previously detailed at length, each statement is false

 and/or misleading. The Products are not safe, do not gentle, free of harsh chemicals,

 a better alternative to traditional shampoos and extensively tested. To the contrary,

 the Products contain or contained at all relevant times, among other harsh ingredients,

 sulfates, silicones, benzene or ingredients which combine to become benzene, lilial

 and other known allergens, sensitizers and skin irritants. These ingredients are known

 to cause ACD and trigger other immune reactions due to their status as allergens or

 sensitizers, to which a large and growing proportion of the population are allergic.

 As the same time, the Products—what Olaplex sells as a system to repair dry and

 damaged hair—contain inadequate cleansing ingredients to remove the non-water-

 soluble components found in the Products as well as dirt, dust, dead skin and other

 debris commonly found on the scalp and hair. This leads to the buildup and disruption

 of the hair’s natural lubrication system. Build up and lack of natural moisturizers lead

 to dryness, breakage and brittleness and SD. The symptoms of these conditions are

 hair loss and other personal injuries, such as itching, blisters and sores, redness,

 rashes, yeast and bacterial infections of the scalp, among other things. Over time,



 21
    https://olaplex.com/pages/how-it-works; https://youtu.be/fEboj5Rdczg?t=107;
 and https://olaplex.com/pages/frequently-asked-questions.
                                            48
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 49 of 61 Page ID #:56




 these conditions cause permanent damage to the scalp and hair follicles and hair. In

 addition, the Products contain ingredients which

       236. Despite its representations to the contrary, Olaplex did not test these

 Products extensively or adequately prior to selling them. On information and belief,

 any HRIPT failed to meet scientific standards in terms of the concentration of the

 Products used on test subjects. On information and belief, any toxicology testing was

 limited to review of literature and failed to properly address or evaluate gaps in data

 for certain ingredients or how certain components of the Products would react when

 put together in a formula.

       237. All conditions precedent to Olaplex’s liability under this contract were

 performed by Plaintiffs when they purchased and used the Products.

       238. Olaplex breached express warranties about the Products and their

 qualities because their statements about the Products were false and the Products do

 not conform to their affirmations and promises. Plaintiffs relied on Defendants’ false

 and misleading claims about the Products including, but not limited to, the claims

 made by Defendants on social media sites, in purchasing the Products. Plaintiffs

 would not have purchased the Products had they known the true nature of the

 Products and the misstatements regarding what the Products are, what they contain

 and how they would work.

       239. In December 2022, Plaintiffs informed Olaplex in writing of these


                                           49
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 50 of 61 Page ID #:57




 breaches and provided Defendant an opportunity to address them. Olaplex has failed

 to do so.

       240. As a proximate result of Olaplex’s breach of warranty, Plaintiffs have

 been personally injured and suffered other damages.

                          SECOND CAUSE OF ACTION

                            Breach of Implied Warranty

                     All Plaintiffs Against Olaplex and Cosway

       241. Plaintiffs hereby incorporate and restate the above allegations by

 reference as though fully set forth herein.

       242. At all times relevant hereto, there was a duty imposed by law on

 Defendants which requires that a manufacturer or seller’s product be reasonably fit

 for the purposes for which such products are used, and that product be acceptable in

 trade for the product description.

       243. Notwithstanding Defendants’ aforementioned duty, at the time of

 delivery, the Products sold to Plaintiffs were not merchantable because they contain

 harmful ingredients and other defect(s) that cause hair loss and other injuries upon

 proper application and do not contain sufficient cleanser or otherwise perform as

 represented.

       244. In December 2022, Plaintiffs notified Defendants that the Products were

 not merchantable. This notice was within a reasonable time after the defect


                                           50
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 51 of 61 Page ID #:58




 manifested to Plaintiffs and other consumers or within a reasonable time after

 Plaintiffs discovered facts sufficient to determine or suspect the Products, which

 Defendants tout as safe, made of only gentle, non-harmful ingredients and

 scientifically formulated and proven, were the cause of their injuries.

       245. As a proximate result of the non-merchantability of the Products,

 Plaintiffs and other consumers sustained personal injury and other damages.

                            THIRD CAUSE OF ACTION
             Violation of California False Advertising Law (“CFAL”)
                       Bus. & Prof. Code § 17500 et seq and
                California Unfair Competition Statute (“CUCS"))
                      Cal. Bus. & Prof. Code § 17200 et seq.

                     All Plaintiffs Against Olaplex and Cosway

       246. Plaintiffs hereby incorporate and restate the above allegations by

 reference as though fully set forth herein.

       247. Plaintiffs, as purchasers of the Products, are consumers within the

 meaning of CFAL and CUCS given that Defendants’ business activities involve trade

 or commerce, are addressed to the market generally and otherwise implicate

 consumer protection concerns.

       248. Defendants engaged in unconscionable commercial practices, deception

 and fraud in the Campaign, and specifically when marketing the Products to Plaintiffs

 by, among other things, failure to disclose that it paid or otherwise incentivized

 influencers, brand ambassadors, hair models, celebrities, magazines and other

                                           51
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 52 of 61 Page ID #:59




 advertising media, stylists, salon owners and retailers to promote the Products using

 content controlled by Defendant in violation of FTC regulation and guidance. In so

 doing, Defendant affirmatively misrepresented these third parties endorsed the

 Products without the influence of financial or other gain and, with regard to all but

 retailers, regularly used the Products as recommended by Defendants, that is to say,

 to the exclusion of other competitive products or, at the least, traditional shampoos.

 In addition, with regard to influencers, brand ambassadors and celebrities, Defendant

 affirmatively mispresented that these parties could achieve their hair styles without

 the use of professional hair stylists. Finally, Defendant also suggested celebrities

 regularly used the Products and/or endorsed or sponsored or were affiliated with the

 Products or Defendant when, in fact, none of those things were true.

       249. Defendant intentionally obscured the commercial nature of the

 representations made by these agents with the intent that consumers, including

 Plaintiffs, would perceive that advertising as excited peer-to-peer testimonials arising

 strictly from customer satisfaction, not paid promotions. Defendant understood that

 this deception would and did have the effect of making the representations much

 more effective in selling the Products.

       250. The FTC is charged with protecting consumers from false and deceptive

 advertising. CUCL is modelled on the Federal Trade Commission Act (“FTCA”) and

 courts look to judicial interpretation of the FTCA in interpreting CUCS. See Lavie v.


                                           52
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 53 of 61 Page ID #:60




 Procter & Gamble Co., 105 Cal. App. 4th 496, 506, 129 Cal. Rptr. 2d 486, 493

 (2003)    (“Because     of    this   relationship    between     the    [UCL]      and

 the Federal Trade Commission Act, judicial interpretations of the federal act have

 persuasive force.”). Violation of CFAL constitutes an unlawful act for purposes of

 CUCS. Roper v. Big Heart Pet Brands, Inc., 510 F. Supp. 3d 903, 922 (E.D. Cal.

 2020).

       251. The FTCA requires prominent, clear and conspicuous disclosure

 “[w]hen there exists a connection between the endorser and the seller of the

 advertised product that might materially affect the weight or credibility of the

 endorsement.” Id. (citing 16 C.F.R. § 255.5). Defendants’ failure to comply with the

 FTCA rendered its use of influencer, brand ambassador and similar endorsement-

 based advertisement misleading and a violation of both CFAL and CUCS.

       252. Beyond its duty to communicate honestly with consumers about the

 quality and nature of the Products, once Defendants learned of defects in the

 Products, including their tendency to cause hair loss and other injuries despite proper

 use (or based upon foreseeable misuse), Defendants owed consumers, including

 Plaintiffs, a duty to disclose the risks of hair loss and other injuries because those

 risks would be a material fact in a consumer’s decision-making process, and without

 Defendants’ disclosure, consumers would not know that such a risk exists,

 particularly given Defendants’ representations that the Products are safe, free from


                                           53
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 54 of 61 Page ID #:61




 harsh or harmful chemicals, repair dry and damaged hair and are scientifically

 formulated and proven.

        253. Defendant intended that Plaintiffs and other reasonable consumers

 would rely on—and Plaintiffs, in fact, reasonably and justifiably relied on—

 Defendants’ misrepresentations as to the nature, safety and efficacy including, but

 not limited to, the claims made by Defendants on social media sites, in purchasing

 the Products.

        254. Defendants’ conduct constitutes false advertising within the meaning of

 CFAL. Defendants’ material non-disclosure constitutes deception, fraud, false

 promise, misrepresentation and/or omission of material facts as to the nature of the

 goods in violation of CFAL.

        255. Defendants’ conduct also constitutes an unconscionable commercial

 practice, deception, fraud, false promise, misrepresentation and/or omission of

 material facts as to the nature of the Products in violation of the CUCS.

        256. Defendants are the producing and proximate cause of Plaintiffs’

 injuries.

                          FOURTH CAUSE OF ACTION

                        Negligence and/or Gross Negligence

                    All Plaintiffs Against Olaplex and Cosway

        257. Plaintiffs hereby incorporate and restate the above allegations by


                                          54
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 55 of 61 Page ID #:62




 reference as though fully set forth herein.

       258. Defendants owed Plaintiffs a duty to use due care in the development,

 testing, planning, design, marketing and sale of the Products offered for use by

 consumers.

       259. Through its failures to exercise due care, Defendants breached this duty

 by producing, processing, manufacturing, distributing and/or offering for sale the

 Products in a defective condition that was unsafe for use at home by consumers.

       260. Defendants breached this duty of care to Plaintiffs by intentionally

 failing to follow industry standards that prohibit the use of chemicals that are

 allergens, sensitizers and/or irritants, are carcinogenic, or for which there is

 inadequate data to determine their safety for use in products used for long or

 indefinite periods of time on the skin. In addition, Defendants breached this duty of

 care to Plaintiffs by intentionally failing to perform research or testing consistent with

 applicable industry and scientific standards before placing the Products on the

 market. Further, Defendants breached this duty of care to Plaintiffs by intentionally

 employing false, misleading and unconscionable advertising and advertising

 practices.

       261. Defendants further intentionally breached this duty of due care by

 failing to properly and adequately inform consumers once safety concerns, including

 hair loss and other injuries, were brought to the Defendants’ attention, and further


                                            55
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 56 of 61 Page ID #:63




 breached this duty of care by failing to fully and appropriately discontinue the sale of

 and recall the Products.

       262. Defendants knew, or in the exercise of reasonable care should have

 known, that the Products present an unacceptable risk to consumers, and would result

 in damages that were foreseeable and reasonably avoidable.

       263. In each instance where Defendants’ conduct fell below the applicable

 standard of care, Defendants’ conduct was intentional and undertaken with

 knowledge that Defendants’ acts or omissions were reckless and likely to lead to

 serious and long lasting injury to consumers.

       264. As a direct and proximate result of Defendants’ above-referenced

 negligence and gross negligence, Plaintiffs have suffered and are entitled to recover

 damages, both compensatory and punitive.

                            FIFTH CAUSE OF ACTION
                   Product Liability and Strict Product Liability

                     All Plaintiffs Against Olaplex and Cosway

       265. Plaintiffs hereby incorporate and restate the above allegations by

 reference as though fully set forth herein.

       266. Defendant Olaplex designs, manufacturers, markets, distributes and/or

 sells the Products. Defendant Cosway designs and assists in the marketing of the

 Products.


                                           56
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 57 of 61 Page ID #:64




       267. As discussed above in detail (i.e., use of ingredients that are harsh and

 harmful, sensitizers, allergens and irritants, carcinogenic and/or that lead clogging of

 the hair follicle and related symptoms, conditions and infections), the Products are

 defective in design or formulation rendering the Products unreasonably dangerous

 with the foreseeable risks of harm far exceeding the benefits associated with the

 design or formulation. Defendants could have but chose not to design, manufacture

 and sell a safer alternative to the Products, which was feasible. On information and

 belief, Defendants made this choice in order to maximize profits—all to the

 determinant of Plaintiffs and other reasonable consumers.

       268. The Products are defective due to inadequate and unsafe

 warnings/instructions for use of the Products, particularly Defendants failure to

 warn—and, in fact, their concealment—of its use of inferior, unsafe and ineffective

 ingredients, such use being at odds with Defendants’ marketing of the Products. In

 addition,   the   Products    are   defective   due    to   inadequate    and    unsafe

 warnings/instructions in that Defendants encouraged Plaintiffs and other reasonable

 consumers to use them to the exclusion of other brands of hair care products and to

 leave the Products on their skin in hair for long periods of time or indefinitely

 between washes. Similarly, Defendant’s post-market warnings/instructions are

 inadequate and unsafe because, after Defendant knew or should have known of the

 risk of injury from the Products, Defendant failed to immediately provide adequate


                                           57
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 58 of 61 Page ID #:65




 warnings/instructions to Plaintiffs and the public.

       269. The Products are also defective due to inadequate testing and study

 and/or the failure to act on or report the results of such tests and studies.

       270. As the direct and proximate result of the defective condition of the

 Products as produced, manufactured, designed, marketed, distributed and/or sold by

 Defendants, and of the negligence, carelessness, other wrongdoing and actions of

 Defendant described herein, Plaintiffs suffered damages.

                              SIXTH CAUSE OF ACTION

                                  Unjust Enrichment

                     All Plaintiffs Against Olaplex and Cosway

       271. Plaintiffs hereby incorporate and restate the above allegations by

 reference as though fully set forth herein.

       272. Defendant has been unjustly enriched in retaining the revenues derived

 from Plaintiffs’ purchases of the Products, because the Defendant obtained the

 benefits   conferred    by    Plaintiffs without providing the Products having the

 characteristics and benefits promised.

       273. Retention of those moneys under these circumstances is unjust and

 Defendant falsely and misleadingly represented that the Products, Plaintiffs paid a

 price premium for the Products based on the false and misleading representations,

 and the Products did not have the characteristics and benefits promised and instead


                                            58
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 59 of 61 Page ID #:66




 are rendered dangerous due to defects that cause hair loss, scalp issues and other

 injuries. Plaintiffs have suffered injuries as a result.

       274. Plaintiffs would not have purchased (or paid a price premium) for the

 Products had they known of the defects that cause injuries.

       275. Defendants' retention of the non-gratuitous benefits conferred on it by

 Plaintiffs is unjust and inequitable, and because equity and good conscience requires

 restitution, Defendants must pay restitution to Plaintiffs for its unjust enrichment, as

 ordered by the Court.

                  ATTORNEYS’ FEES, EXPENSES AND COSTS

       276. Plaintiffs hereby incorporate and restate the above allegations by

 reference as though fully set forth herein.

       277. Plaintiffs have been forced to secure the assistance of counsel to protect

 their legal rights and mitigate their damages as a result of the Defendants’ wrongful

 conduct.

       278. Having made proper presentment and provided actual and sufficient

 notice of their claims to Defendants, Plaintiffs seek recovery of their reasonable

 attorneys’ fees, expenses and costs pursuant to all applicable statutes, regulations and

 agreements.

                                        PRAYER

       WHEREFORE Plaintiffs pray for Judgment against Defendant as follows:


                                             59
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 60 of 61 Page ID #:67




              For an award of actual and consequential damages according to proof;

              For an award of punitive damages according to proof;

              For restitution in the form of disgorgement of Defendants’ ill-gotten

   profits;

              For an award of reasonable attorneys’ fees, costs and expenses incurred

   herein;

              For an award of pre- and post-judgment interest; and;

              For all other relief to which they may be justly entitled.

                             DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand trial by jury under Fed. R. Civ. P. 38.

 Dated: February 9, 2023

                                  Respectfully submitted,
                                  LAW CENTER OF AMY E. DAVIS, LLC


                                   By:     /s/ Amy E Davis______
                                           Amy E. Davis (pro hac vice pending)
                                           1021 N. Bishop Ave.
                                           Dallas, TX 75208
                                           adavis@cdfirm.com

                                     GORDON & PARTNERS, P.A.

                                           Steve Calamusa (pro hac vice pending)
                                           Geoff S. Stahl (pro hac vice pending)
                                           Rachel Bentley (pro hac vice pending)
                                           4114 Northlake Blvd.
                                           Palm Beach Gardens, FL 33410
                                           Telephone: 561-799-5070
                                           SCalamusa@fortheinjured.com
                                           GStahl@fortheinjured.com
                                             60
Case 2:23-cv-00982-RGK-PLA Document 4 Filed 02/09/23 Page 61 of 61 Page ID #:68



                                    RBentely@fortheinjured.com

                              MURPHY ROSEN LLP
                                    David E. Rosen (SBN 155385)
                                    Email: drosen@murphyrosen.com
                                    100 Wilshire Boulevard, Suite 1300
                                    Santa Monica, California 90401-1142
                                    Telephone: (310) 899-3300
                                    Facsimile: (310) 399-7201

                                    Attorneys for Plaintiffs




                                      61
